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Case 3:08-cv-02771-WHA Document 294 Filed 12/24/09 Page 1 of 19

JOHN F. PRENTICE, ESQ. SBN 087606
ROBERT D. POSTAR, ESQ. SBN 103538
JOHN F. PRENTICE & ASSGCIATES, P.C.
2200 Powell Street, Suite 740

Emeryville, CA 94608

Telephone: (510) 420-9000

Facsimile: (510) 597-0718

Attorneys for Defendants,
DAVID AKESON AND CRISTINA AKESON

UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

JAMES TALADA, 111, and MELODY
LABELLA

Plaintiffs,
VS.

CITY OF MARTINEZ, CALIFORNIA; CITY
OF MARTINEZ POLICE DEPARTMENT;
CHIEF DAVE CUTAIA, Martinez Chief of
Police; SERGEANT GARY PETERSON, a
Martinez Police Offlcer; COMMANDER
MARK SMITH, a Ma:c“cinez Police Offlcer;
GUARDSMARK GP, LLC, a Ca1if0rnia
Corporation and Parent Corporation for
Guardsrnark, LLC; GUARDSMARK, LLC, a
California Corporation; CRISTINA AKESON,
a Guardsmark employee and Security Guard;
and DOES 1 through 100, inclusive,

Defendants.

CASE NO. C08~02771 WHA

SUPPLEMENTAL DECLARATION OF
ROBERT D. POSTAR, ESQ. IN
SUPPORT OF DEFENDANT CRISTINA
AKESON’S MOTION FOR MONETARY
SANCTIONS PURSUANT TO FRCP
RULE 11, 28 USC §1927 AND THE
COURT’S INHERENT AUTHORITY 'I`O
IMPOSE SANCTIONS

Date: January 7, 2010 ,
Time: 8:00 a.m.

Courtroom 9, 19th Floor,
450 Golden Gate Ave.
San Francisco, CA

Honorable William H. Alsup

 

 

Supplemental Declaration of Robert D. Postar, Esq. in Support of Defendant Cristina Akeson’s I\/lotion for Monetary Sanctions Pursuant to FRCP Rule
l l, 28 USC §1927 and the Court’s lnherent Authority to Irnpose Sanctions~ COS~02771 WHA Page 1

 

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Case 3:08-cv-O2771-WHA Document 294 Filed 12/24/09 Page 2 of 19

I, ROBERT D. POSTAR, ESQ., declare:

1. l am an attorney duly licensed to practice before all of the courts of the State of California
and the United States District Court for the Northern District of California and am the senior associate
of the law firm of John F. Prentice & Associates, P.C., attorneys of record for Defendants CRISTINA
AKESON and DAVID AKESON (“Defendants Al<eson”).

2. 1 have personal knowledge of the matters stated in this declaration, and, if called upon to
testify, l could and would be able to testify competently regarding the matters set forth in this declaration

3. Attached herewith as EXhibit M and incorporated herein by this reference as if set forth
in its entirety is a true and correct copy of additional excerpts frorn the Deposition of David Al<eson, Vol.

ll, dated July 22, 2009. These excerpts respond to issues raised in Attorney Henning’s Opposition Brief.

1 declare under penalty of perjury under the laws of the United States that the foregoing is true and
correct, and that this declaration was executed on Decernber 24, 2009, at Erneryville, California.
ROBERT D. POSTAR
ROBERT D. POSTAR

 

Supplemental Declaration of Robert D. Postar, Esq. in Support of Defendant Cristina Akeson’s Motion for Monetary Sanctions Pursuant to FRCP Rule
11,28 USC §1927 and the Court’s inherent Authority to lmpose Sanctions~ C08-02771 WHA Page 2

 

 

 

Case 3:08-cv-O2771-WHA Document 294 Filed 12/24/09 Page 3 of 19

 

 

 

 

 

Golden Gate Reporting
Page 48
1 UNITED STATES DISTRICT COURT
2 FOR THE NORTHERN DISTRICT OF CALIFORNIA
3
JAMES L. TALADAL 111, and MELODY LaBELLA,
4 Case No. C08-02771 WHA
Plaintiffs,
5 Volume 11
vs.
6 Paqee 48 - 140
CITY OF MARTINEZ, CALIFORNIA; CITY OF MARTINEZ
7 POLICE DEPARTMENT; CHIEF DAVE CUTAIA, Martinez
Chief of Police; SERGEANT GARY PETERSON, a Martinez
8 Police Officer; COMMANDER MARK SMITH, a Martinez
Po1ice Officer; GUARDSMARK GP, LLC, a California
9 Corporation and Parent Corporetion for Guardsmark,
LLC; GUARDSMARK, LLC, a California Corporation;
10 CRISTINA AKESON, a Guardemark employee and Security
Guard; and DOES 1 through 100, inclusive,
11
Defendants.
12 /
13 CRISTINA AKESON,
14 CroSS-C1aimant,
15 vS.
16 GUARDSMARK GP, LLC, a Delaware Limited Liability
Company; GUARDSMARK, LLC, a Delaware Limited
17 Liability Company,
18 CroSS~DefendantS.
/
19
CONTINUED DEPOSITION OF DAVID AKESON
20
DATE: July 22, 2009
21 TIME: 10:10 a.m.
22 LOCATION: JOHN F. PRENTICE & ASSOCIATES
2200 Powell Street, Suite 740
23 Emeryville, California 94608
24 REPORTED BY: Katy Leonard
Certified Shorthand Reporter
25 Licenee Number 11599
EXHIBH~ M 415.499.DEP0 ~ 866.936.13§1>0

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Case 3:08-cv-O2771-WHA Document 294 Filed 12/24/09 Page 4 of 19

Golden Gate Reporting

 

 

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A P P E A R A N C E S

For the P1eintiffe, James L. Ta1ada, 111, and Melody

LaBe1la:

JOHN F. HENN1NG, 111, ESQ.
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For the Defendant and CroSS-Claimant, Cristina Akeson,

and Deponent, Devid Akeeon:

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(510)597-0718 (Fex)
rpjfprenticelew@yahoo.com

Also present:

JAMES L. TALADA, 111
Plaintiff

MELODY LaBELLA
P1aint1ff

CR1STINA AKESON
Defendant and CroSS-Claimant

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Page 49

 

 

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Case 3:08-cv-O2771-WHA Document 294 Filed 12/24/09 Page 5 of 19
Golden Gate Reporting

 

 

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PAGE
CONT1NUED EXAMINAT1ON BY:

MR. HENN1NG 51

~~-oOo---

EXH:B:TS

PAGE
PLA1NT1FFS' EXH1B1T:

36 United Statee Civil Court Subpoena In A 51

Civil CaSe, 4 pages

37 Packet of receipts from newegg.oom, 54

727 pages

(Exhibits attached to the transcript)

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Case 3:08-cv-O2771-WHA Document 294 Filed 12/24/09 Page 6 of 19

Golclen Gate Reporting

 

 

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Page 51
(Whereupon Plaintiffs' Exhibit 36

was marked for identification.)

DAV1D AKESON,
called as a witness by the Plaintiffs, who, having been
duly resworn by me, was examined and testified as

hereinafter set forth.

“~-oOo~--

CONT1NUED EXAM1NAT1ON BY COUNSEL FOR THE PLA1N11FFS

MR, HENNING: Good morning, Mr. Akeson.

Before we go forward, 1 guess we should state
appearances and then discuss the fact that some other
counsel aren‘t here.

John Henning for the Plaintiffs.

MR. POSTAR: Robert Postar for Cristina
Akeson, and counsel today for David Akeson in this
deposition.

MS. LaBELLA: Melody LaBella.

MR. TALADA: James Talada.

MS. AKESON: .Cristina Akeson.

THE WITNESS: Dave Akeson.

MR. HENNING: And then we did ~* Counsel

 

 

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Case 3:08-cv-O2771-WHA Document 294 Filed 12/24/09 Page 7 of 19

Golden Gate Reporting

 

 

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Page 52

received E-mails from Noah Blechman representing City of
Martinez defendants, and Jenny Li representing
Guardsmark defendants. Jenny Li said they would not be
attending. Noah Blechman said they would possibly be
attending, but if they were late to start without them,
because they may not show up.
BY MR. HENNING:

Q. Mr. Akeson, is there any reason you feel today
you can‘t have this deposition go forward?

A. NO.

Q. You feel okay healthwise?

A. Healthwise?

Q. Yes.

A. Yes.

Q. Okay. Great.

MR. POSTAR: Counsel, one note 1 wanted to

make. Handing you -~ this is the per diem mileage and
fees for David Akeson. The total mileage and fees is
$89.50.

MR. HENNING: Okay.

MR. POSTAR: We're requesting those fees, but
we'll be happy to accept the check from you by mail.

MR. HENNING: That's fine.

And it's my understanding we did provide the

check when he was initially served, so we can figure out

 

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Case 3:08-cv-O2771-WHA Document 294 Filed 12/24/09 Page 8 of 19

 

 

Golden Gate Reporting
Page 53

1 if there‘s a deduction to be made. But we're agreeable

2 to pay these per diem and mileage fees.

3 MR‘ POSTAR: Great. Thank you.

4 BY MR. HENN1NG:

5 Q. Mr. Akeson, if 1 could have you look at

6 Exhibit 36 in front of you.v 1‘ll represent that's a

7 copy of a subpoena.

8 When you’re done looking at it, let me know.

9 The first question 1’11 be asking you is whether you've
10 seen this document before, or a copy of this document.
11 A. (Witness reviews the document.)

12 Q. 1s this a document you've seen before?

13 A. 1t looks like a subpoena that 1 received for a
14 deposition.

15 Q. All right.

16 Did an individual hand this to you in the last
17 few months?

18 1n other words, were you served with it?

19 A. Um, 1 believe we were. 1'm not positive.

20 Q. Okay.

21 Well, do you --

22 MR. POSTAR: 1n any event, Counsel, he‘s

23 appearing at this deposition per the subpoena.

24 MR. HENNING: 1'm aware of that.

25 MR. POSTAR: Okay.

 

 

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Case 3:08-cv-O2771-WHA Document 294 Filed 12/24/09 Page 9 of 19

Golden Gate Reporting

 

 

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Page 112
A. No.

Q. Aside from your son, has anyone done any work
on your computers from January lst, 2006 to the present?

A. No.

Q. Now, could you explain to me ~- looking at
EXhibit 37, what do those documents reflect, basically?

A. You had asked for a clarification on what
happened with our computer, and this document is a group
of receipts for parts.

Q. ls there any receipt in here for a new
computer purchase?

A. Parts.

Q. Well -~ okay.

So, is it fair to say, then, that there’s no

receipt here showing a receipt for the purchase of a
brand~new computer?

A. The parts that would be making up a computer.

Q. Again -~ so, yes or no, is there any receipt
in here showing the purchase ofva brand~new computer?

A. You're saying a whole computer -~

Q Correct.

A. ~~ as a single piece? No0

Q And is it your testimony -- well, tell me,
after ~- from January of 2007 to the present time, when

was the first time, to your knowledge, that you were

 

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Case 3:08-cV-O2771-WHA Document 294 Filed 12/24/09 Page 10 of 19

Golden Gate Reporting

 

 

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Page 118

having computer problems?

A. We've -- 1'm sure like anybody else has
computer problems here and there. The computer had been
getting worse and finally died in February of ’08.

Q. And you say "died."

What specifically -- what do you mean when you
say "died"?

A. 1'm not good enough with computers to be able
to tell you. 1 do know that the hard drive died.

Q. And is that based on information that your son
told you?

A. The hard drive fried.

Q. Well, how do you know the hard drive fried?

A, Because it didn't do anything. 1t would take
electricity, but it wouldn't even come up on the screen.

Q. And so, what steps did you take at that time
in February of 2008 to fix the computer?

A. There's a receipt for February of '08 showing

a group of parts.

Q. 1s this ~- it gives a date, February 18th,
2008?

A. Mm-hm.
Q_ 1s that a "yes"?

A. Yes.

And with those parts, then, the computer was

 

 

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Case 3:08-cV-O2771-WHA Document 294 Filed 12/24/09 Page 11 of 19

Golden Gate Reporting

 

 

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Page 114

assembled.

Q. And so, 1 guess, turning through these
documents, 1 find a bill. 1t totals 278.51 at the
bottom. Take your time, if you can find that.

What‘s the date on that one?

A.

Q. This says, "Submitted February 16th, 2008."

A. Yes. Mm-hm.

Q. So, take your time to find that.

A. Let‘s see. This would be -~

Q. 1t's about halfway through the pile.

A. Most of these are David working on his own
computer. Here we go. (lndicating)

MR. POSTAR: 1s this the page you're ~~

MR. HENNlNG: Yes.

1'11 read it into the record. There's
handwriting on the top. 1t says, "For office, hyphen,
rebuild." And, "Order No. 91027588."

BY MR. HENN1NG:

Q. Looking at this page, are these the items, to
your knowledge, that were purchased in or about February
of 2008 when the hard drive had problems?

A. That's correct.

Q¢ And who actually decided to purchase these
items?

1s this your son who ~-

 

 

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Case 3:08-cV-O2771-WHA Document 294 Filed 12/24/09 Page 12 of 19

Golden Gate Reporting

 

 

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Page 115
A. Yes.

He picked the parts and got them and put them
together.

Q. And then did he do the actual installation of
these parts on your computer?

A. Correct.

Q. And then to your knowledge, did he transfer
any data from the ~- as you put it -- fried hard drive
to the newly purchased hard drive?

A. No.

The fried hard drive was fried and not usable,
not accessible in any way.

What he did do was, on the new hard drive, use
a disk from many months earlier of the bid -~ contract
bids, and installed that on there so 1 would have my
bids. Unfortunately, this record was many months old,
so 1'm missing some of them.

Q. And then once that occurred in February, 2008,
were there any other significant computer issues that
arose subsequently?

A. Well, later on in ‘08 back in December.

1t's further back in the pages there.
Q, And what happened in December of '08?
A. The newer hard drive died again. So, the

other parts around it were okay, but the newer hard

 

 

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Case 3:08-cV-O2771-WHA Document 294 Filed 12/24/09 Page 13 of 19

 

 

Golden Gate Reporting
Page 116

1 drive died.

2 Q. Well, 1'm looking ~~ it's basically the -~

3 A. Let‘s see. Back here. (1ndicating) Way

4 back. 1t says, "Office" up on top.

5 Q. Right.

6 1s this the December 26th, 2008?

7 A. Correct.

8 Q. Order 13035 ~~ sorry -- 13036576.

9 Could you ~~ in your own words, could you

10 explain what this receipt reflects?
11 A. Well, basically, this is a side part for
12 Vista, because there was -- down ~~ a handwritten note

13 just under the parts box. XP was no longer supported
14 online. And so, he had to buy some fresh hardware and
15 make the new one work. 1t doesn't show a hard drive

16 being purchased again.

17 What happened was, during his own rebuilding
18 of his own machine, he had a spare hard drive, and with

19 this breakdown, then 1 got his old, used hard drive.

20 Q. Well, so, at any time in 2008, did you
21 actually purchase a new computer?
22 1'm not talking about parts or hard drives or

23 anything. 1'm talking about a complete computer.
24 A. A whole computer that people see on shelves,

25 no. These were components that were put together -~ the

 

 

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Case 3:08-cV-O2771-WHA Document 294 Filed 12/24/09 Page 14 of 19

 

 

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Golden Gate Reporting
Page 117
box, the hard drive, the other components.
Q. So, is it fair to say there ~- well, looking

at this receipt, noting that it says, "Software return
policy," and it says, "Microsoft Windows Vista Home
Basic," it's your understanding that this receipt
actually just refers to the actual computer software and
not a hard drive.

A. Not a hard drive, correct.

Q. Are you aware of any documentation existing
showing that a -- that there was a new hard drive or
another hard drive used to replace the one in your
computer in December of 2008?

A. Way back at the beginning.

Q. Well, right. Aside from that one.

A. Um, there -- he had -~ Dave had a leftover
hard drive after his. So, the second time mine broke
down, 1 got his leftover hard drive,

This is why it was hard to explain all this at
the first deposition.

Q. Well, did you make any efforts to return the
Western Digital Caviar hard drive which you purchased in
February of 2008 after it had problems?

A. No.

Q. 1f 1 could have you look at the next page

after this -~ this is the February 16th, 2008 invoice.

 

 

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Case 3:08-cV-O2771-WHA Document 294 Filed 12/24/09 Page 15 of 19

 

 

Golden Gate Reporting
Page 118

1 1f you‘d turn to the next page ~- sorry. You turned one
2 too far.

3 A. Wait a minute.

4 February of ‘08?

5 Q. Yes.

6 A. Okay.

7 And the one after that?

8 So, we're looking at May of ’08?

9 Q. Never mind. 1‘11 withdraw the guestion.

10 1n December of 2008, what specifically was it
11 that malfunctioned in your computer?

12 A. Um --

13 MR. POSTAR: Well, 1'm going to object to the
14 extent it calls for expert testimony. You're entitled
15 to his understanding.

16 MR. HENNING: Of course. And if he doesn‘t
17 know, he can say so, Counsel. Please stop coaching the
18 witness. We know he's not a computer expert.

19 MR. POSTAR: 1'm not coaching the witness. 1
20 made the objection.
21 BY MR. HENN1NG:
22 Q. What was it that, to your understanding,
23 malfunctioned with the computer in December of 2008?
24 A. 1n December, the new -- newer hard drive that
25

we had just purchased some months before, it apparently

 

 

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Case 3:08-cV-O2771-WHA Document 294 Filed 12/24/09 Page 16 of 19

Golden Gate Reporting

 

 

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Page 119

was a not real good hard drive and it also fried.
Q. So, just so 1'm clear: When you testified in
January 22nd, 2009 that you bought a new computer, that

is actually incorrect in that you only bought computer

parts.

A. night.

Do you remember my confusion and not really
knowing the whole history of it? And this is why.
There‘s many factors going into this.

Q. But it's fair to say in the second half of
2008, all you bought was new software for the computer,
because the hard drive was one your son had; right?

A. The ~- up until December was the one we had
purchased, and then in December, that one also got
destroyed, and so, the one that went in in December was
his old, used hard drive.

Q. Are you aware that your -- do you have any
knowledge that your wife bought a voice-activated
recording device in 2006?

A. No.

Q. Did you ever at any time find a

voice-activated recording device in your vehicle in

2006?
A. No.

1 wouldn't know it if 1 looked at it, no.

 

 

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Case 3:08-cV-O2771-WHA Document 294 Filed 12/24/09 Page 17 of 19

 

 

Golden Gate Reporting
Page 185

1 computer -- computer part, computer-repair issues

2 referred to?

3 A. To my knowledge, this is it.

4 Q. Okay.

5 And when you say, "this is it," you're

6 pointing to Exhibit?

7 A. 37.

8 Q. 37. Okay.

9 MR. HENN1NG: What 1'11 do now is we’ll

10 suspend the deposition.

11 MR. POSTAR: Well, you either complete it or
12 you don‘t complete it.

13 1s it over?

14 You done?

15 MR. HENN1NG: 1‘m suspending it based on
16 this -- there‘s a questionable production and compliance
17 issues relating to Category No. 6.

18 MR. PosTAR: okay.
19 So, you're suspending it subject to bringing a
20 motion to compel. That‘s --
21 MR. HENNING: You're putting words in my
22 mouth, Counsel. 1 said 1'm suspending the deposition.
23 MR. POSTAR: Okay.
24 We consider the deposition to be completed.
25

1f you want to get Mr. Akeson back, you're going to need

 

 

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Case 3:08-cV-O2771-WHA Document 294 Filed 12/24/09 Page 18 of 19

Golden Gate Reporting

 

 

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Page 136

to bring a motion. Okay.
THE REPORTER: Mr. Postar, would you like a
copy of this deposition?
MR. P©STAR: Yes.
THE REPORTER: Thank you.
(Whereupon, at 12:53 p.m°, the deposition
of DAVID AKESON was adjourned.)

---@o@--~

 

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Case 3:08-cV-O2771-WHA Document 294 Filed 12/24/09 Page 19 of 19

 

 

CERT1F1CAT1ON OF DEPOS1T1ON OFF1CER

1, KATY LEONARD, CSR, duly authorized to
administer oaths pursuant to Section 2093(b) of the
California Code of Civil Procedure, hereby certify that
the witness in the foregoing deposition was by me sworn
to testify to the truth, the whole truth, and nothing
but the truth in the within-entitled cause; that said
deposition was taken at the time and place therein
stated; that the testimony of the said witness was
thereafter transcribed by means of computer~aided
transcription; that the foregoing is a full, complete,
and true record of said testimony; and that the witness
was given an opportunity to read and correct said
deposition and to subscribe the same.

1 further certify that 1 am not of counsel or
attorney for either or any of the parties in the
foregoing deposition and caption named, or in any way
interested in the outcome of this cause named in said

caption.

    

"z

et ~~~ _~

Katy Leonard

CSR No. 11599

 

 

